Case 2:03-cr-20343-.]TF Document 188 Filed 06/20/05 Page 1 of 2 Page|D 245

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IN THE UNITEI) STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 05 JUN 20 ph 2; 3
WESTERN DIVISION '

ROBEF§'T R DI `i`FiOLIO

CLEF¢K, U.'S. DIST_ _
UNITED sTATES oF AMERICA, W-D- OF TN, MEMP&is
Plaimiff,
vs. Case No. 03cr20343-D

CARL E. JOHNSON

Defendant.

 

ORDER REFUNDING CASH APPEARANCE BOND

 

This matter comes before the Court on a motion for refund of the cash appearance bond.
lt now appears that the defendant has complied with the requirements of said bond and orders of
this Court.
IT IS THEREFORE ORDERED that the appearance bond for this defendant be canceled
and discharged; and the Clerk is directed to issue a check on the Registry in the Sum of $500.()().,
payable to Gregory A. Johnson at 3078 Dunibarton Rd., Memphis, TN 38128 in full refund of the cash

appearance bond posted herein.

  

  

B RNICE B. ONALD
ited States District Judge

   

Approved.
Robert R. Di Trolio, Clerk of Court

BY; £{M.£w-&

Deputy Clerk

 
 
     

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 188 in
case 2:03-CR-20343 Was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

Stephen R. Leftler
LEFFLER LAW OFFICE
707 Adams Ave.
l\/lemphis7 TN 38105

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Berniee Donald
US DISTRICT COURT

